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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
WILLIAM WILSON, §
§
Plaintiff, §
v. § .
§ Civil Action No. -2O-CV “1410
§
MARSHALL SHREDDING, LLC. AND §
MEDSHARPS TREATMENT LLC, §
§
Defendants.

 

PLAINTIFF WILLIAM WILSON’S ORIGINAL COMPLAINT AND JURY DEMAND

 

Introduction

This is an action for retaliatory discharge from employment under the Emergency Paid
Sick Leave Act, which is part of the Families First Coronavirus Response Act (FFCRA). Plaintiff
William “Willie” Wilson was employed by Defendants as a driver and warehouseman at
Defendant’s headquarters in Schertz, Texas. In the summer of 2020, Plaintiff discovered that he
and his co-workers were being required to handle, without appropriate personal protective
equipment, human remains and COVID medical waste. In July of 2020, Plaintiff contracted
COVID, became seriously ill, and had to take leave from work that was protected by Section 5104
of the FFCRA (as amended by Section 3611(8) of the CARES Act. Plaintiff is a single father and
his infant child likewise contracted COVID. Defendant expressed an animus against Plaintiff
because he contracted COVID and needed time off to convalesce and to care for his child with
COVID. Plaintiff immediately experienced retaliation for his protected leave and was terminated

from employment on or about August 26, 2020 for completely pretextual reasons. Plaintiff avers
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that he was discharged from employment because he sought, took, and asked for payment for,
leave under the FFCRA.
Parties

l, Plaintiff William “Willie” Wilson is an individual residing in Bexar County,
Texas. He may be served with papers in this case through the undersigned counsel.

2. Defendant Marshall Shredding, LLC is a limited liability company organized under
the laws of the State of Texas. It maintains its principal place of business at 17340 Bell North
Drive, Schertz, Texas 78154. It may be served with process through its registered agent, Robert L.
Marshall II, at 17340 Bell North Drive, Schertz, Texas 78154.

3. Defendant Medsharps Treatment, LLC is a limited liability company organized
under the laws of the State of Texas. It maintains its principal place of business at 17340 Bell
North Drive, Schertz, Texas 78154. It may be served with process through its registered agent,
Robert L. Marshall II, at 17340 Bell North Drive, Schertz, Texas 78154.

Jurisdiction and Venue

4, The Court possesses personal jurisdiction over Defendants because Defendants are
organized under the laws of the State of Texas, because Defendants maintains their principal place
of business in Texas, and because Defendants continuously do business in the State of Texas. The
Court possesses subject-matter jurisdiction pursuant to 28 U.S.C. Section 1331 because Plaintiff
brings his claims under federal law (the Families First Coronavirus Response Act and the
Emergency Paid Sick Leave Act). Venue is proper in the Western District of Texas because the
events giving rise to Plaintiff's claims occurred within the geographic confines of the Western

District.
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Factual Background

5. Defendant Marshall Shredding operates a document shredding and destruction
business out of its headquarters in Schertz, Texas. Defendant Medsharps Treatment is a medical
waste disposal company. It operates as a single integrated enterprise with Defendant Marshall
Shredding, sharing the same facilities and employees.

6. Plaintiff commenced work for Defendants as a driver and warehouseman in
2017. In the Spring of 2020, in the midst of the COVID pandemic, Defendant also began
processing medical waste and human remains. Plaintiff discovered to his dismay, discovered that
he was actually processing COVID-infected waste. Defendants failed to implement infectious-
disease protocols or to provide Plaintiff and his co-workers with appropriate personal protective
equipment. When Plaintiff confronted management about the medical and human waste, Plaintiff
was told that PPE would not be provided and that he could buy it himself. Plaintiff developed
symptoms consistent with COVID infection. Plaintiff requested time off to test and quarantine but
his request was denied. He was told that if he quarantined, his job would not be
protected. Consequently, Plaintiff continued to work. Defendants actively discouraged employees
from taking time off due to illness, including COVID. Employees were told that their jobs would
not be secure if they took time off due to having COVID symptoms.

7. In late July of 2020, Plaintiff became extremely sick at work. Plaintiff suspected
he had contracted COVID. Plaintiff was forced to complete his shift. Thereafter, Plaintiff went
for a COVID test and was ordered by health care providers to quarantine. Defendants’
management instructed Plaintiff to return to work, but Plaintiff refused because he was under
quarantine and still awaiting his test results. Plaintiff requested that he be given the time off to

quarantine and that he be paid for his time consistent with federal law. On the following day,
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Plaintiff received positive test results and informed the employer. Plaintiff's manager did not
believe Plaintiff that he was positive, so Plaintiff contacted Human Resources. When Plaintiff
ultimately returned to work on or about August 13, he was met with a bogus reprimand. Plaintiff
was told that he was on thin ice and that any subsequent infraction would result in his
termination. Plaintiff objected because he had childcare obligations that prohibited him from
working the night shift. Defendants ultimately relented. However, less than two weeks later, on
or about August 26, 2020, Defendants discharged Plaintiff from employment, falsely claiming that
Plaintiff had stolen the thermometer used to check employee temperatures.
Cause of Action: Retaliatory Discharge under FFCRA

8. Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 7 supra.

9. Defendants, both singularly and together, are employers within the meaning of the
Emergency Paid Sick Leave Act and the FFCRA. Plaintiff was likewise a covered employee under
those Acts in that, at the time he took leave because of his own COVID infection and the COVID
infection of his infant son, Plaintiff had been employed by Defendants for more than 30 days.

10. Under Section 5104 of the FFCRA, as amended by Section 3611(8) of the CARES
Act, a covered employer may not discharge, discipline, or otherwise discriminate against an
employee who takes leave in accordance with the Act; or has filed any complained or instituted or
caused to be instituted any proceeding under or related to the Act. An employer who willfully
violates Section 5104 shail be considered in violation of section 15(a)(3) of the FLSA and is subject
to the penalties described in Sections 16 and 17 of the FLSA.

11.‘ Plaintiff avers that he was discharged from employment because of his protected
activities under the Emergency Paid Sick Leave Act, the FFCRA, and Section 3611(8) of the

CARES Act. As a result of his illegal discharge from employment, Plaintiff has lost wages and
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benefits for which he now sues. Under the law, Plaintiff is also entitled to an award of liquidated
damages as well as damages for emotional distress, mental anguish, humiliation, and damage to
reputation. Finally, because Plaintiff has been forced to retain legal counsel to vindicate his
federally-protected rights, Plaintiff is entitled to an award of attorney fees.
Jury Demand
12. Plaintiff demands a trial by jury
Conclusion and Prayer

13. Plaintiff prays that, upon by final judgment, he be awarded the following:

a. Lost wages and benefits in the past;

b. Lost wages and benefits in the future;

c. Liquidated damages;

d. Compensatory damages for emotional distress, mental anguish, humiliation,

embarrassment, and damage to reputation;
e. Attorney Fees;
f. Costs of Court; and

g. All other relief to which Plaintiff is entitled.
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Respectfully submitted,

{Sf MICHAEL V. GALQ, JR.
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